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 9                                UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,           )                 No. CR- 06-0316 MHP
13                                       )
           Plaintiff,                    )
14                                       )
        v.                               )
15                                       )                 [PROPOSED] SPEEDY TRIAL ORDER
     STANLEY JAMES PRYOR, JR., et al.,   )
16                                       )
                   Defendants,           )
17   ___________________________________ )
18       GOOD CAUSE APPEARING the Court finds this case complex under 18 U.S.C.
19   §3161(h)(8)(A) and B(i)(ii). The case involves approximately six overlapping months of
20   electronic surveillance on seven separate lines covering four different subject’s cellular
21   telephones. A portion of the conversations are in Spanish and a portion are in Tongan. The
22   indictment contains allegations against nineteen defendants covering criminal activity over
23   approximately one year in time. Thousands of pages of discovery have been made available and
24   compact discs containing hundreds of hours of conversations have been provided. The Court
25   finds that the case is so unusual and complex, due to the number of defendants and the nature of
26   the prosecution that it is unreasonable to expect adequate preparation for pretrial proceedings or
27   for the trial itself within the time limits established under Title 18 U.S.C. § 3161(h)(8)(A) and
28   (B)(ii)and (iv).

     SPEEDY TRIAL ORDER                                    1
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 1      The court finds specifically that the ends of justice are best served through the continuance
 2   until October 16, 2006 to allow the defendants adequate time to review the discovery already
 3   provided and prepare any necessary motions for additional discovery. The Court finds that need
 4   for effective preparation and other reasons cited herein outweigh the best interest of the
 5   defendants and the public in a speedy trial.
 6      Accordingly, IT IS HEREBY ORDERED that the time period between July 17, 2006 and
 7   October 16, 2006 is excluded from calculations pursuant to 18 U.S.C. §3161(h)(8)(A) and
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 8   B(i),(ii), and iv.
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                      18
 9   DATED: July 16, 2006




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                                                    HON. MARILYN   OHALL  PATEL
11                                                  UNITEDIT  IS S
                                                            STATES   DISTRICT COURT JUDGE




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     SPEEDY TRIAL ORDER                                       2
